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 1                                                                The Honorable Barbara J. Rothstein

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 7                          UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9
   MNG, LLC, a Washington Limited Liability          Case No. 2:21-cv-1038-BJR
10 Company; PHILMON NEGUSSE, an
   individual; and HENOK ABRAHA, an
11 individual,                                       STIPULATION AND ORDER OF
                                                     DISMISSAL OF ALL CLAIMS AGAINST
12                       Plaintiffs,                 REMAINING DEFENDANTS WITHOUT
           v.                                        PREJUDICE
13
   MERRICK GARLAND, U.S. Attorney
14 General, U.S. Department of Justice; JAY
   INSLEE, Governor of the State of Washington;
15 LIQUOR AND CANNABIS BOARD OF THE
   STATE OF WASHINGTON; DAVID
16 POSTMAN, Chair of the Liquor and Cannabis
   Board; RICK GARZA, Director of the Liquor
17 and Cannabis Board,

18                       Defendants.

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20                                      JOINT STIPULATION

21         IT IS HEREBY STIPULATED AND AGREED, by and between Plaintiffs MNG, LLC,

22 PHILMON NEGUSSE, and HENOK ABRAHA; and the Defendants U.S. Department of Justice, U.S.

23 Attorney General Merrick Garland, in his official capacity, Governor Jay Inslee, Washington State

24 Liquor and Cannabis Board, Chair David Postman, and Director Rick Garza, acting by and through
     STIPULATION AND ORDER OF DISMISSAL [Case No.                                Halverson Law, PLLC
                                                                                    Attorneys at Law
25   2:21-cv-1038-BJR] - 1                                                    19655 First Ave South, #106
                                                                              Normandy Park, WA 98148
                                                                         Phone: 206-489-2712 Fax 206-212-4154
26
              Case 2:21-cv-01038-BJR Document 23 Filed 01/05/22 Page 2 of 4




 1 their respective counsel, under Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the above-titled action

 2 as to all claims and all remaining Defendants shall be dismissed without prejudice and without costs

 3 to any of the parties.1

 4                                                SO STIPULATED.

 5                                                DATED this 5th day of January, 2022.

 6                                                Respectfully and jointly submitted,

 7                                                /s/ Erik L. Halverson
                                                  Erik L. Halverson, WSBA #48511
 8                                                Attorney at Law
                                                  HALVERSON LAW, PLLC
 9                                                19655 First Avenue South, Suite 106
                                                  Normandy Park, Washington 98148
10                                                Phone: 206-489-2712
                                                  Email: erik@halversonlaw.com
11
                                                  Attorneys for Plaintiffs MNG LLC, Philmon Negusse,
12                                                and Henok Abraha

13

14       TESSA M. GORMAN                                        BRIAN M. BOYNTON
         Acting United States Attorney                          Acting Assistant Attorney General
15                                                              Civil Division
         /s/ Kristen R. Vogel
16       KRISTEN R. VOGEL, NY No. 5195664                       C. SALVATORE D’ALESSIO, Jr.
         Assistant United States Attorney                       Acting Director
17       Western District of Washington
         United States Attorney’s Office                        ANDREA W. McCARTHY
18       700 Stewart Street, Suite 5220                         Senior Trial Counsel
         Seattle, Washington 98101-1271
19       Phone: 206-553-7970                                    /s/ Paul E. Werner
         Email: kristen.vogel@usdoj.gov                         PAUL E. WERNER
20                                                              (Md. Bar, under LCR 83.1(c)(2))
         Attorney for Department of Justice and Attorney        Senior Trial Counsel
21       General Merrick Garland in his official capacity       U.S. Department of Justice
                                                                P.O. Box 7146
22                                                              Washington, DC 20044

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   1 The claims against Attorney General Merrick Garland in his individual capacity were already
24 dismissed with prejudice. See ECF No. 21. This stipulation does not address those claims.
     STIPULATION AND ORDER OF DISMISSAL [Case No.                                     Halverson Law, PLLC
                                                                                         Attorneys at Law
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 1                                                          Phone: 202-616-4152
                                                            Email: Paul.Werner@usdoj.gov
 2
                                                            Attorneys for Attorney General Merrick
 3                                                          Garland in his individual capacity

 4

 5     BRUCE L. TURCOTT

 6     /s/ Leah E. Harris
       LEAH EDITH HARRIS
 7     Attorney General’s Office (Sea – Fifth Ave.)
       800 5th Ave Ste 2000
 8     Seattle, WA 98104-3188
       206-389-2031
 9     Email:Leah.Harris@atg.Wa.Gov

10     Attorneys for Jay Inslee, David Postman, Rick Garza, and Liquor and Cannabis Board of the
       State of Washington
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              Case 2:21-cv-01038-BJR Document 23 Filed 01/05/22 Page 4 of 4




 1                                               ORDER

 2          THIS MATTER having come before the undersigned judge of the above-entitled Court,

 3 based on the foregoing stipulation, now, therefore,

 4          IT IS HEREBY ORDERED that this matter, including all remaining claims and all remaining

 5 Defendants, shall be dismissed from the above-entitled action without prejudice and without costs or

 6 interest to any party.

 7          DATED this 5th day of January, 2022.

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                                                         BARBARA J. ROTHSTEIN
11                                                       United States District Judge

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